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                        UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

  MICHAEL ESPOSITO,                         )
                                            )
                       Plaintiff,           )
         v.                                 )      No.   2:15-cv-263-GZS
                                            )
  SCOTT LANDRY, et al.,                     )
                                            )
                       Defendant            )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


         No objections having been filed to the Magistrate Judge's Recommended Decision

  (ECF No. 38) filed November 20, 2015, the Recommended Decision is AFFIRMED.

         Accordingly, it is ORDERED that Defendants’ Motion to Dismiss (ECF No. 27)

  is GRANTED as to Defendants Cumming, Curtis, Fitzpatrick and Landry.



                                                   _/s/ George Z. Singal        __
                                                   United States District Judge

  Dated this 16th day of December, 2015.
